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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

Wendy Berry, Lorri Hulings, and Kathleen
Sammons, individually and as representatives of a              Case No. 1:18-cv-00326-MWM
class of similarly situated persons, and on behalf of
the FirstGroup America, Inc. Retirement Savings                Judge Matthew W. McFarland
Plan,

                        Plaintiffs,
v.

FirstGroup America, Inc., FirstGroup America, Inc.
Employee Benefits Committee, and Aon Hewitt
Investment Consulting, Inc.,

                        Defendants.



          MOTION FOR ADMISSION PRO HAC VICE OF ANNA P. PRAKASH

        Pursuant to S.D. Ohio Civ. R. 83.3(e) and 83.4(a), Plaintiffs, through their trial attorney,

George M. Reul, Jr., respectfully move the Court to admit Anna P. Prakash pro hac vice to appear

and participate as counsel in this case for Plaintiffs.

        In support of this Motion, Plaintiffs state that Anna P. Prakash is a member in good standing

of the highest court of Minnesota, as attested by the accompanying certificate from that court, and

that Anna P. Prakash is not eligible to become a member of the permanent bar of this Court. This

Motion is accompanied by the required $200.00 fee.

        Anna P. Prakash understands that, unless expressly excused, she must register for

electronic filing with this Court promptly upon the granting of this Motion.

        Anna P. Prakash’s relevant business information is as follows:
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Telephone: 612-256-3200
Address: Nichols Kaster, PLLP
           4700 IDS Center
           80 S 8th Street
           Minneapolis, MN 55402
E-mail:    aprakash@nka.com


Dated: August 2, 2022               Respectfully submitted,


                                    FREKING MYERS & REUL LLC

                                    By: /s/ George M. Reul, Jr.
                                    George M. Reul, Jr. (0069992)
                                    600 Vine Street, Ninth Floor
                                    Cincinnati, Ohio 45202
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                                    NICHOLS KASTER, PLLP
                                    Paul J. Lukas, admitted pro hac vice
                                    Brock J. Specht, admitted pro hac vice
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                                    ATTORNEYS FOR PLAINTIFFS




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of August, 2022, a true and accurate copy of the

foregoing was filed electronically. Notice of this filing will be delivered to the parties by operation

of the Court’s electronic filing system. Parties may access this filing through the Court’s system.



                                                       /s/ George M. Reul, Jr.
                                                       George M. Reul, Jr.




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